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Surbhi Sarna


                               UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


BOSTON SCIENTIFIC CORPORATION,              No. 3:19-cv-05645-VC
BOSTON SCIENTIFIC SCIMED, INC.
AND FORTIS ADVISORS LLC,                    REQUEST FOR JUDICIAL NOTICE IN
                                            SUPPORT OF SURBHI SARNA’S
                 Plaintiffs,                OPPOSITION TO BIOCARDIA, INC.’S
                                            MOTION TO AMEND SCHEDULING
        v.                                  ORDER AND FOR LEAVE TO FILE
                                            SECOND AMENDED ANSWER TO
BIOCARDIA, INC.,                            COMPLAINT AND COUNTERCLAIMS

                 Defendant.

                                            Date:    May 7, 2020
                                            Time:    10:00 a.m.
                                            Ctrm:    3, 17th Floor
                                            Judge:   Hon. Vince Chhabria



BIOCARDIA, INC.,

                 Counterclaimant,

v.

BOSTON SCIENTIFIC CORPORATION,
BOSTON SCIENTIFIC SCIMED, INC.
AND FORTIS ADVISORS LLC, AND
SURBHI SARNA,

                 Counterdefendants.




                                                                REQUEST FOR JUDICIAL NOTICE
                                                                      NO. 3:19-CV-05645 VC
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TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:

       Pursuant to Federal Rule of Evidence 201 and relevant case law regarding judicial notice,

in opposition to BioCardia, Inc.’s Motion to Amend Scheduling Order and For Leave to File

Second Amended Answer to Complaint and Counterclaims, Surbhi Sarna hereby requests the

Court to take judicial notice of the Certificate of Merger memorializing the merger of Clarity

Merger Corp. and nVision Medical Corporation. This document was certified by the Secretary of

State of the State of Delaware on April 13, 2018. BioCardia’s proposed Second Amended

Complaint refers to the merger described in this Certificate of Merger. A copy of the document

for which Ms. Sarna seeks judicial notice is attached hereto as Exhibit A.
       According to Federal Rule of Evidence 201, a court “may judicially notice a fact that is

not subject to reasonable dispute because it: (1) is generally known within the trial court’s

territorial jurisdiction; or (2) can be accurately and readily determined from sources who accuracy

cannot reasonably be questioned.” Fed. R. Evid. 201(b). A court “must take judicial notice if a

party requests it and the court is supplied with the necessary information.” Fed. R. Evid. 201(c).

       Certificates of Merger are a proper subject of judicial notice. See, e.g., Lindsey v. United

Airlines, Inc., 2017 U.S. Dist. LEXIS 85154, *14-15, 2017 WL 2404911 (N.D. Cal. June 3, 2017)

(granting both a request for judicial notice of a certificate of merger and a motion to dismiss);

Bullwinkle v. U.S. Bank, Nat’l Ass’n, 2013 U.S. Dist. LEXIS 151220, *8 n. 3, 2013 WL 5718451

(N.D. Cal. Oct. 21, 2013) (a certificate of merger “is a public record whose accuracy cannot

reasonably be questioned”); Russell v. NCAA, 2012 U.S. Dist. LEXIS 68684, *10 n. 1, 2012 WL

1747496 (N.D. Cal. May 16, 2012); DeLeon v. Wells Fargo Bank, N.A., 2010 U.S. Dist. LEXIS

112941, *8, 2010 WL 4285006 (N.D. Cal. Oct. 22, 2010).

Dated: April 16, 2020                                          ROBERT E. FREITAS
                                                                 JESSICA N. LEAL
                                                            FREITAS & WEINBERG LLP


                                                                  /s/Jessica N. Leal
                                                                     Jessica N. Leal
                                                            Attorneys for Counter-Defendant
                                                                     Surbhi Sarna



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                                                                                NO. 3:19-CV-05645-VC
